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                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

   In re:                                            )
   KARA FAUSS                                        )           CASE NO. 17-41812
                                                     )           Chapter 13
                                                     )
          Debtor.                                    )

                DEBTOR’S RESPONSE TO TRUSTEE’S MOTION TO
              DISMISS FOR FAILURE TO TURN OVER TAX RETURNS

          COMES NOW Debtor, by and through undersigned Counsel, and responds to the
   Trustee’s Motion to Dismiss for Failure to Turn Over Tax Returns, stating to the Court as
   follows:

          1. Debtor admits the allegations in Paragraphs 1-7 and Paragraph 9.

          2. Debtor is without sufficient knowledge and information to admit or deny the
             allegation of Paragraph 8, and therefore denies the allegation. Debtor will
             provide the missing tax returns to the Trustee shortly or will provide an
             affidavit stating that the Debtor was not required to file income tax returns for
             the time period requested.

          WHEREFORE, Debtor requests the Court to deny the motion to dismiss the case,
   and such other and further relief as this Court deems just and proper.

                                                Respectfully submitted,

                                                Jason D. Fauss




                                                Jason D. Fauss, #57734MO
                                                The Fauss Law Firm, LLC
                                                11965 St. Charles Rock Rd., Suite. 202
                                                St. Louis, MO 63044
                                                Tel: 314-291-8899 / Fax: 314-739-1355
                                                Jason@Fausslaw.com
                                                ATTORNEY FOR DEBTOR
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                               CERTIFICATE OF SERVICE

   I certify that a true and correct copy of the foregoing document was filed electronically
   on January 24, 2019 with the United States Bankruptcy Court, and has been served on the
   parties in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s
   Electronic Mail Notice List.




                                                Jason D. Fauss, #57734MO
                                                The Fauss Law Firm, LLC
                                                11965 St. Charles Rock Rd., Suite. 202
                                                St. Louis, MO 63044
                                                Tel: 314-291-8899 / Fax: 314-739-1355
                                                Jason@Fausslaw.com
                                                ATTORNEY FOR DEBTOR
